Case 3:22-cv-00049-NKM-JCH Document 81 Filed 11/07/22 Page 1 of 2 Pageid#: 667




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION


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 BABY DOE, A CITIZEN OF AFGHANISTAN     :
 CURRENTLY RESIDING IN NORTH            :
 CAROLINA, BY AND THROUGH NEXT          :                  CIVIL ACTION NO. 3:22-CV-49
 FRIENDS, JOHN AND JANE DOE;AND JOHN :
 AND JANE DOE, CITIZENS OF AFGHANISTAN :
 AND LEGAL GUARDIANS OF BABY DOE,       :
                                        :
      Plaintiffs,                       :
                                        :
 v.                                     :
                                        :
 JOSHUA MAST, STEPHANIE MAST, RICHARD :
 MAST, KIMBERLEY MOTLEY, AND AHMAD :
 OSMANI,                                :
                                        :
      Defendants,                    :
                                      :
 and                                  :
                                      :
 UNITED STATES SECRETARY OF STATE    :
 ANTONY BLINKEN AND UNITED STATES :
 SECRETARY OF DEFENSE GENERAL         :
 LLOYD AUSTIN,                       :
                                     :
      Nominal Defendants.            :

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                                AMENDED PRETRIAL ORDER

        Having considered the Joint Motion to Modify Pretrial Order, the Court hereby ORDERS

 that the Pretrial Order (ECF No. 65) is modified as follows:

  Event                                             Revised Deadline
  Fed. R. Civ. P. 26(f) Conference                  December 26, 2022
  Initial Disclosures under Fed. R. Civ. P. 26(a)   January 9, 2023
  Plaintiffs’ Initial Expert Disclosures            February 23, 2023
  Defendants’ Initial Expert Disclosures            March 10, 2023
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  Deadline to Complete Discovery                90 days before trial date
  Deadline to File Dispositive Motions          75 days before trial date
  Deadline for Hearing Dispositive Motions      45 days before trial date

         It is so ORDERED.



         Entered: November 7, 2022




                                             _______________________________
                                             Joel C. Hoppe
                                             United States Magistrate Judge




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